       Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 1 of 7 PageID #:2




                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

ALEXSIA BRADLEY individually and on                   )
behalf of all others similarly situated,              )
                                                      )
                    Plaintiff,                        )
                                                            No. 1:20-cv-2700
                                                      )
        v.                                            )
                                                      )
GERRESHEIMER GLASS, INC.,                             )
                                                      )
                    Defendant.                        )

                                       NOTICE OF REMOVAL

        Defendant Gerresheimer Glass, Inc. (“Gerresheimer”), hereby removes this putative class

action from the Circuit Court of Cook County, Illinois to the United States District Court for the

Northern District of Illinois. This Court has jurisdiction because Plaintiff’s claims are preempted

by Section 301 of the Labor Management Relations Act (LMRA), 29 U.S.C. § 185. This Court

also has jurisdiction under the Class Action Fairness Act (“CAFA”) because minimal diversity

exists and, on the face of Plaintiff’s pleadings, the maximum amount in controversy exceeds $5

million. See 28 U.S.C. §§ 1441, 1446, 1331, 1332(d), and 1453(b). Removal is timely under 28

U.S.C. § 1446(b)(1).

I.                  Overview of Claims Asserted and Relief Sought

        1.          Gerresheimer is a Delaware Corporation that manufactures products for the

healthcare industry. Plaintiff Alexsia Bradley vaguely asserts that she was employed by

Gerresheimer in Illinois through 2019. Compl., ¶ 27, attached as part of Ex. A.1 Plaintiff alleges

Gerresheimer uses an employee time tracking system that requires employees to scan their



1
 Ex. A is “a copy of all process, pleadings, and orders served” on Ultimate Software. See 28 U.S.C.
§ 1446(a).


4831-5090-2203 v1
       Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 2 of 7 PageID #:3




“fingerprint” to track time. Id. ¶ 22. Plaintiff alleges she was required to scan her “fingerprint”

to clock in and out from work and that Gerrescheimer subsequently stored her “fingerprint” in its

database in violation of the Illinois Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1,

et seq. Id. ¶¶ 5, 28.

        2.      Plaintiff specifically alleges violations under four different subparts of BIPA’s

Section 15. Compl. ¶¶ 47-50. Plaintiff alleges Gerresheimer failed to:

        •    obtain a written release from Plaintiff and the Class before it collected, used, and

             stored their biometric identifiers and biometric information (Section 15(b)(3));

        •    inform Plaintiff and the Class in writing that their biometric identifiers and biometric

             information would be collected or stored (Section 15(b)(1));

        •    inform Plaintiff and the Class in writing of the specific purpose and length of term for

             which their biometric identifiers and biometric information were being collected,

             stored, and used (Section 15(b)(2)); and

        •    maintain a publicly available retention schedule and guideline for permanently

             destroying its employees’ biometric identifiers and biometric information (Section

             15(a)).

        3.      Plaintiff defines the putative class as follows:

        All residents of the State of Illinois who had their fingerprints collected, captured,
        received, otherwise obtained or disclosed by Defendant while residing in Illinois.

Id. ¶ 35.

        4.      Plaintiff seeks as relief, among other things, “liquidated damages for each of

Defendant’s violations of BIPA pursuant to 740 ILCS 14/20” (id. ¶ 52). BIPA § 20 provides for

liquidated damages of $5,000 for each willful and/or reckless violation. 740 ILCS 14/20.




                                                   2
      Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 3 of 7 PageID #:4




II.    There are two independent grounds for subject matter jurisdiction.

       A.      Plaintiffs’ claims are completely preempted by Section 301 of the LMRA
               conferring federal question jurisdiction on this Court.

       5.      Plaintiffs’ claims are completely preempted by Section 301 of the Labor

Management Relations Act (LMRA), 29 U.S.C. § 185, and therefore “arise under” federal law

conferring federal question jurisdiction on this Court. See Franchise Tax Bd. of State of Cal. v.

Construction Laborers Vacation Trust Fund of So. Cal., 463 U.S. 1, 24 (1983); Caterpillar Inc.

v. Williams, 482 U.S. 386, 393 (1987).

       6.      In Miller v. Southwest Airlines Co., 926 F.3d 898 (7th Cir. 2019), the Seventh

Circuit held that BIPA claims based on an employer’s use of finger scan time clocks were

preempted by the Railway Labor Act. It explained that it is “not possible even in principle to

litigate a dispute about how an [employer] acquires and uses fingerprint information for its whole

workforce without asking whether the union has consented on the employees’ collective behalf.”

Id. at 903–04. Although Miller applied the Railway Labor Act, the Supreme Court has said that

the preemption standard is essentially the same under the LMRA. See Hawaiian Airlines v.

Norris, 512 U.S. 246, 260 (1994). Courts in the Northern District of Illinois have held that Miller

also applies to disputes involving the LMRA. See Fernandez v. Kerry, Case No. 17-cv-08971,

2020 WL 1820521, at *5-6 (N.D. Ill. Apr. 10, 2020); Gray v. The Univ. of Chi. Med. Ctr., Inc.,

Case No. 19-cv-4229, 2020 WL 1445608, at *4 (N.D. Ill. Mar. 25, 2020); Peatry v. Bimbo

Bakeries USA, Inc., Case No. 19-cv-2942, 2020 WL 919202, at *3 (N.D. Ill. Feb. 26, 2020).

       7.      Like the BIPA plaintiffs in Miller, Kerry, Gray, and Peatry, Plaintiff has belonged

to the union during her employment with Gerresheimer and the terms and conditions of her

employment have been governed by collective bargaining agreements. (Declaration of Craig

Calloway, ¶¶ 6-7, attached as Ex. B.) Gerresheimer and the union have been parties to collective



                                                 3
       Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 4 of 7 PageID #:5




bargaining agreements ratified by the union’s members for many years. (Id.) The relevant

collective bargaining agreements are attached to Ex. B and were effective from April 1, 2013 to

March 31, 2016, and April 1, 2016 to March 31, 2020. (Id.)

       8.      Like the agreements in Miller, Kerry, Gray, and Peatry, the collective bargaining

agreements contain a broad management-rights provision and establish a grievance procedure.

The broad “Management Rights” provision states, “The Union recognizes the right and

responsibility of the Company to manage the plant and direct its working forces. All rights of the

Company which have not been specifically abridged or modified by this Contract are retained by

the Company.” (Ex. B, ¶ 8.) The “Grievance Procedure” culminates in mandatory arbitration

before the Federal Mediation and Conciliation Service. (Ex. B, ¶ 8.)

       9.      Under Miller, Kerry, Gray, and Peatry, Plaintiffs’ claims are preempted by

Section 301 of the Labor Management Relations Act. See also Kerry, 2020 WL 1820521 at *6

(“Because plaintiffs’ BIPA claims necessarily requires interpretation of the collective bargaining

agreement, it is preempted by § 301 of the LMRA.”).

       B.      There is jurisdiction under the Class Action Fairness Act.

       10.     This Court has jurisdiction under the Class Action Fairness Act of 2005 (CAFA),

28 U.S.C. § 1332(d)(2), which gives federal courts original jurisdiction in class actions where:

“(1) the aggregate amount in controversy exceeds $5,000,000; (2) any member of the plaintiff

class is a citizen of a state different from any defendant (‘minimal diversity’); (3) the primary

defendants are not states, state officials, or other government entities against whom the district

court may be foreclosed from ordering relief; and (4) the number of members of the plaintiff

class is 100 or more.” Hart v. FedEx Ground Package Sys. Inc., 457 F.3d 675, 679 (7th Cir.

2006). All four elements exist here.




                                                 4
       Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 5 of 7 PageID #:6




       11.     The proposed class covers more than 250 employees. (Ex. B ¶ 9.) Plaintiff alleges

that she seeks to represent a class of hundreds of persons. (Compl. ¶ 36; Mot. for Class Cert. at 6,

attached as part of Ex. A.) Thus, the number of members of the putative class exceeds 100.

       12.     Minimal diversity exists where “any member of a class of plaintiffs is a citizen of

a State different from any defendant.” 28 U.S.C. § 1332(d)(2). Plaintiff alleges she is a natural

person and citizen of Illinois. Compl. ¶ 7. Gerresheimer is a citizen of Delaware and New Jersey,

because it is a Delaware corporation with its principal place of business in Vineland, New Jersey.

See 28 U.S.C. § 1332(c)(1) (deeming a corporation a citizen of both the state “where it has its

principal place of business” and its state of incorporation); Compl. ¶ 8; Ex. B ¶ 4. Accordingly,

minimal diversity exists

       13.     Gerresheimer is not a state, state official, or government entity and not a citizen of

Illinois, whereas Plaintiff is a citizen of Illinois. (Compl. ¶¶7-8; Ex. B ¶ 4.) Therefore, there is

minimal diversity.

       14.     Plaintiff asserts four types of alleged violations, and seeks statutory damages of

up to $5,000 for “each” violation (Compl. ¶¶ 47-50, 52, Prayer), and CAFA requires “the claims

of the individual [purported class] members [to] be aggregated.” 28 U.S.C. § 1332(d)(6). Based

on Defendant’s declaration that the proposed class has more than 250 members, the jurisdictional

threshold of $5 million has been alleged (251 x $5,000 x 4 = $5,020,000.00). (Ex. B ¶ 9.)

III.   The Procedural Requirements for Removal Have Been Satisfied

       This notice is timely. A notice of removal must be filed within 30 days of service. 28

U.S.C. § 1446(b). Gerresheimer was served on April 2, 2020. Ex. B ¶ 5. Counting forward 30

days comes to Saturday, May 2, 2020, making the deadline for removal Monday, May 4, 2020.

FED. R. CIV. P. 6(a)(1)(C). Gerresheimer is the sole defendant, and therefore there are no other

defendants whose consent would be necessary.


                                                   5
      Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 6 of 7 PageID #:7




       Gerresheimer is today timely filing this notice with the Circuit Court of Cook County,

along with an executed copy of the Notice of Filing Notice of Removal. Gerresheimer is also today

serving those filings on all parties. 28 U.S.C. § 1446(d).

 Dated: May 4, 2020                          Respectfully submitted,

                                             GERRESHEIMER GLASS, INC.

                                             By: /s/ Melissa A. Siebert

                                             Melissa A. Siebert
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                                                 6
      Case: 1:20-cv-02700 Document #: 2 Filed: 05/04/20 Page 7 of 7 PageID #:8




                                CERTIFICATE OF SERVICE

       I, Melissa A. Siebert, an attorney, hereby certify that on May 4, 2020, I caused a true and

correct copy of NOTICE OF REMOVAL to be served by electronic mail on counsel of record

in, in the Circuit Court of Cook County, addressed as follows:

                           David Fish
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                                                 /s/ Melissa A. Siebert




                                                7
